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                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and I am
currently assigned to the Washington, D.C. Field Office. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        The facts in this statement come from my review of the evidence, my personal
observations, my training and experience, and information obtained from other law enforcement
officers and witnesses. Except as explicitly set forth below, I have not distinguished between facts
of which I have personal knowledge and facts of which I have hearsay knowledge. This statement
is intended to show simply that there is sufficient probable cause for the requested arrest warrant
and does not set forth all of my knowledge about this matter.

        I have reviewed publicly available video from the evening of January 6, 2021 in which an
individual wearing a red “Florida for Trump” hat, a blue and white mask, and an American flag
jacket is interviewed near the Capitol building. The individual states that he has been there all day
and at one point, takes his mask off and identifies himself as ROBERT PALMER from Florida.




       The images of the individual who identified himself as PALMER on the video match a
Florida driver’s license photograph for ROBERT SCOTT PALMER that I have reviewed.

         The Lower West Terrace is located directly in the front-center of the U.S. Capitol, facing
the Washington Monument. In the center of the Lower West Terrace is an archway with a short
set of stairs that leads to a set of double doors; those doors permit entrance directly into the Capitol
Building. At around 2:30 p.m., a large group of Metropolitan Police Department (“MPD”) and
U.S. Capitol Police (“USCP”) officers assembled to protect the Lower West Terrace entrance from
an advancing mob.

        I have reviewed publicly available video showing PALMER at or near the front of the mob
near the line of officers. In this video, PALMER, wearing the same red hat, face mask, and
American flag jacket, can be seen throwing what appears to be a wooden plank at USCP and MPD
officers protecting the Lower West Terrace entrance.
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        I have reviewed additional publicly available video showing PALMER at or near the front
of the mob. While there, the video shows PALMER spraying the contents of a fire extinguisher
at the officers and then throwing the fire extinguisher at them.




         I have also reviewed footage from security cameras inside the Lower West Terrace tunnel
provided by the U.S. Capitol Police (“USCP”). In this footage, at approximately 4:55 p.m.,
PALMER can be seen spraying the contents of the fire extinguisher at the police and then throwing
the fire extinguisher at the police. Thereafter, the security footage shows PALMER picking up
the fire extinguisher from the ground and throwing it at the officers a second time.
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         Based on the foregoing, your affiant submits that there is probable cause to believe that
ROBERT SCOTT PALMER violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of title 18 while engaged in or on account of the performance of official duties and
using a deadly or dangerous weapon (including a weapon intended to cause death or danger but
that fails to do so by reason of a defective component). Persons designated within section 1114
include any person assisting an officer or employee of the United States in the performance of their
official duties.

        Your affiant submits there is also probable cause to believe that ROBERT SCOTT
PALMER violated 18 U.S.C. § 231(a)(3) and § 2, which makes it unlawful to commit or attempt
to commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

        Your affiant submits that there is also probable cause to believe that ROBERT SCOTT
PALMER violated 18 U.S.C. § 1752(a)(1), (2), and (4), which make it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engages in any act of
physical violence against any person or property in any restricted building or grounds; or attempts
or conspires to do so; and (b)(1)(A) during and in relation to the offense, did use and carry a deadly
and dangerous weapon, to wit: a plank and a fire extinguisher. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
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building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.


                                                          _________________________________
                                                          Michael Major
                                                          Special Agent
                                                          Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of March 2021.                                    Digitally signed by G. Michael
                                                                           Harvey
                                                     ___________________________________
                                                                           Date: 2021.03.12 14:16:17 -05'00'
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
